   Case 4:16-cv-00407-O Document 26 Filed 03/27/17          Page 1 of 1 PageID 264



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

                                §
MICHAEL BAKER,                  §
                                §
      Plaintiff,                §
                                §
v.                              §               Civil Action No. 4:16-cv-00407-O-BP
                                §
U.S. BANK, N.A. IN ITS CAPACITY §
AS TRUSTEE FOR THE              §
REGISTERED HOLDERS OF CSFB §
HOME EQUITY PASS-THROUGH        §
CERTIFICATES, SERIES 2005-F1X1, §
and OCWEN LOAN                  §
SERVICING, LLC,                 §
                                §
      Defendants.               §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

      The United States Magistrate Judge made findings, conclusions, and a

recommendation in this case. No objections were filed, and the Magistrate’s

recommendation is ripe for review. The District Judge reviewed the proposed findings,

conclusions, and recommendation for plain error. Finding none, the undersigned District

Judge is of the opinion that the Findings and Conclusions of the Magistrate Judge are

correct and they are accepted as the Findings and Conclusions of the Court.

      Accordingly, it is ORDERED that Defendants’ Motion for Summary Judgment

(ECF No. 17) is GRANTED.

      SO ORDERED on this 27th day of March, 2017.




                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
